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     ABEL REMIGIO-ONOFRE
7
8                                            UNITED STATES DISTRICT COURT
9                                           EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           No. 1:08-CR-00124-AWI-8
12                             Plaintiff,                STIPULATED REQUEST AND ORDER TO
                                                         ENTER SECOND AMENDED JUDGMENT
13             v.
                                                         RETROACTIVE DRUGS-MINUS-TWO
14   ABEL REMIGIO-ONOFRE,                                REDUCTION CASE
15                             Defendant.                Judge: Honorable ANTHONY W. ISHII
16
17             Defendant, ABEL REMIGIO-ONOFRE, by and through his attorney, Assistant Federal
18   Defender David M. Porter, and plaintiff, UNITED STATES OF AMERICA, by and through its
19   counsel, Assistant U.S. Attorney Kathleen A. Servatius, hereby stipulate as follows:

20             1.         Pursuant to a stipulation between the parties, on March 19, 2015, the Court

21   entered an amended judgment reducing Mr. Remigio-Onofre’s term of imprisonment to a total

22   term of 121 months.

23             2.         The original judgment provided that Mr. Remigio-Onofre’s sentence in the above-

24   entitled matter run CONCURRENT to the sentence being served in case 1:08-CR-00071, and

25   that Mr. Remigio-Onofre receive credit for the time he served in federal custody on this case,

26   using March 7, 2008 to calculate the time, but that language is missing from the amended

27   judgment; accordingly,

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     Stipulation and Order Re: Sentence Reduction          1
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1              3.         The parties respectfully request the Court enter a second amended judgment that
2    includes the missing language so that the Bureau of Prisons will run Mr. Remigio-Onofre’s
3    sentences concurrently and give him the proper credit for time served.
4    Respectfully submitted,
5    Dated: April 24, 2015                             Dated: April 24, 2015
6    BENJAMIN B. WAGNER                                HEATHER E. WILLIAMS
     United States Attorney                            Federal Defender
7
8    /s/ Kathleen A. Servatius                         /s/ David M. Porter
     KATHLEEN A. SERVATIUS                             DAVID M. PORTER
9    Assistant U.S. Attorney                           Assistant Federal Defender
10   Attorney for Plaintiff                            Attorney for Defendant
     UNITED STATES OF AMERICA                          ABEL REMIGIO-ONOFRE
11
12                                                    ORDER
13             Pursuant to the parties’ stipulation, and good cause appearing therefor, the clerk shall
14   forthwith prepare a second amended judgment in which, after the sentence, “IT IS ORDERED
15   that the motion is GRANTED and the defendant’s previously imposed sentence of imprisonment
16   of 151 months is reduced to 121 months,” the following language is added: “Defendant’s
17   sentence to run CONCURRENT to the sentence being served in case 1:08-CR-00071.
18   Defendant to receive credit for the time he has served in federal custody on this case, using
19   3/7/2008 to calculate the time.” The clerk shall serve certified copies of the amended judgment
20   on the United States Bureau of Prisons and the United States Probation Office.
21
22   IT IS SO ORDERED.
23   Dated:       April 28, 2015
24                                                    SENIOR DISTRICT JUDGE

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     Stipulation and Order Re: Sentence Reduction         2
